 

AO 440 (Rev. 06/12) Summons in a Civil Action

PROOF OF SERVICE
(This section should not be filed with the Court unless required by Fed. R. Civ. P. 4(1))

Case No. 4:21—cv—12568-VAR-JJCG

Genesee County Road Commission
This summons for (name of ale and title, if any) HE. FED PETVANDE. MANAGING DRECIO?

was received by me on (date) l 24 | 20

{ ]  Ipersonally served the summons on the individual at (place)

 

on (date) ; or

 

{ ] I left the summons at the individual's residence or usual place of abode with (name)

a person of suitable age and discretion who resides there,

 

 

 

 

 

 

 

on (date) , and mailed a copy to the individual's last known address; or
tv} served the summons on (name of individual) Freo PeexvANoz who is
designated by law to accept service of process on behalf of (name of organization) Genesee (oun
Road Commission on (date) i | BO} Doa| ; or
{ ] I returned the summons unexecuted because : “=; OF St
fa: <= |S tek
[ ] Other: (specify): 5 =e ms z “ges "=

My fees are $ go for travel and $ 4 for services, for a total of $ ZL .

I declare under the penalty of perjury that this information is true.

Date: ialoo| gaat Herald 7. bang (oR

eper's Signature _
eee William& JZ

 

 

KRISTEN A, WISE :
Printed Name and Title
NOTARY PUBLIC, STATE OF Mi
COUNTY OF GENESEE PNA Groen Dine Dave AgtHt 2
MY COMMISSION EXPIRES Dec 8, 2024 fr
ACHAT OLRAITY'OR Berwenk Server's address Burton ML 4 E5iF

Additional information regarding attempted service, etc.:

ald T. Willams ageeared vefore ve on this 2OH com AOE December AAI
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KaStin (vise
